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                                                              United States Bankruptcy Court
                                                               Western District of Oklahoma
In re:                                                                                                                 Case No. 23-11267-SAH
Ronald Morain                                                                                                          Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1087-5                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 09, 2023                                               Form ID: pdf003                                                           Total Noticed: 27
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 11, 2023:
Recip ID                   Recipient Name and Address
db                     +   Ronald Morain, 4701 Tanglewood Ct., Norman, OK 73072-3118
aty                    +   Alexander E Hilton, III, Alexander Hilton & Assoc., LLC, 6440 Avondale Drive, Ste. 201, Nichols Hills, OK 73116-6416
aty                    +   Charles E. Wetsel, Charles E. Wetsel, 1741 West 33rd Street, Ste 120, Edmond, OK 73013-3838
aty                    +   Cody D Kerns, Teague & Wetsel, PLLC, 1741 W. 33rd St. 120, Edmond, OK 73013-3838
tr                     +   Kevin M. Coffey, 435 N. Walker Ste 202, Oklahoma City, OK 73102-1810
cr                     +   Teague & Wetsel, PLLC, 1741 W 33rd Street, Ste 120, Edmond, OK 73013-3838
6744922                +   Andrea Golden, PO Box 720540, Norman OK 73070-4396
6744925                +   Boston Avenue Law, 401 S Boston Ave, Ste 500, Tulsa OK 74103-4023
6744928                +   Howard Berkson, Boston Avenue Law, 401 S. Boston Ave., Ste. 500, Tulsa OK 74103-4023
6744929                +   Lacey Shirley Law, 302 S. Cheyenne Ave., Ste. 110, Tulsa OK 74103-3435
6744930                +   Lacey Shirley Law, 1874 S. Boulder Ave., Tulsa OK 74119-5234
6744934                +   Teague & Wetzel, 1741 W 33rd St, Ste. #120, Edmond OK 73013-3838
6744936                +   Tinker-mc, Attn: Bankruptcy, Po Box 45750, Tinker AFB OK 73145-0750
6744937                +   Village Roofing & Siding, 3334 W Main St., Norman OK 73072-4805
6744938                +   Village Roofing & Siding, LLC, 11901 N MacArthur Blvd, Oklahoma City OK 73162-1806

TOTAL: 15

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: bankruptcy@oesc.state.ok.us
                                                                                        Aug 09 2023 20:58:00      Oklahoma Employment Security Commission, PO
                                                                                                                  Box 53039, Oklahoma City, OK 73152-3039
ust                    + Email/Text: USTPRegion20.OC.ECF@usdoj.gov
                                                                                        Aug 09 2023 20:57:00      United States Trustee, United States Trustee, 215
                                                                                                                  Dean A. McGee Ave., 4th Floor, Oklahoma City,
                                                                                                                  OK 73102-3479
6744920                + Email/Text: ally@ebn.phinsolutions.com
                                                                                        Aug 09 2023 20:57:00      Ally Financial, Inc, Attn: Bankruptcy, 500
                                                                                                                  Woodard Ave, Detroit MI 48226-3416
6744921                + Email/PDF: bncnotices@becket-lee.com
                                                                                        Aug 09 2023 21:18:26      Amex, Correspondence/Bankruptcy, Po Box
                                                                                                                  981540, El Paso TX 79998-1540
6744923                + Email/Text: creditcardbkcorrespondence@bofa.com
                                                                                        Aug 09 2023 20:57:00      Bank of America, Attn: Bankruptcy, 4909
                                                                                                                  Savarese Circle, Tampa FL 33634-2413
6744924                + Email/Text: BarclaysBankDelaware@tsico.com
                                                                                        Aug 09 2023 20:57:00      Barclays Bank Delaware, Attn: Bankruptcy, Po
                                                                                                                  Box 8801, Wilmington DE 19899-8801
6744926                + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Aug 09 2023 21:07:46      Citibank/The Home Depot, Citicorp Cr
                                                                                                                  Srvs/Centralized Bankruptcy, Po Box 790040, St
                                                                                                                  Louis MO 63179-0040
6744927                + Email/Text: cmims@comfedcu.org
                                                                                        Aug 09 2023 20:57:00      Communication FCU, Attn: Bankruptcy, 4141 Nw
                                                                                                                  Expressway, Ste 200, Oklahoma OK 73116-1683
6744931                    Email/Text: camanagement@mtb.com
                                                                                        Aug 09 2023 20:57:00      M & T Bank, Attn: Bankruptcy, Po Box 844,
                                                                                                                  Buffalo NY 14240
6744932                + Email/Text: Supportservices@receivablesperformance.com
                                                                                        Aug 09 2023 20:57:00      Receivables Performance Mgmt, Attn:
                                                                                                                  Bankruptcy, Po Box 1548, Lynnwood WA
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Date Rcvd: Aug 09, 2023                                             Form ID: pdf003                                                     Total Noticed: 27
                                                                                                            98046-1548
6744933                   + Email/Text: bncmail@w-legal.com
                                                                                   Aug 09 2023 20:57:00     Target Nb, C/O Financial & Retail Services,
                                                                                                            Mailstop BT PO Box 9475, Minneapolis MN
                                                                                                            55440-9475
6744935                   + Email/Text: bankruptcy@tinkerfcu.org
                                                                                   Aug 09 2023 20:57:00     Tinker Fcu, Attn: Bankruptcy, Po Box 45750,
                                                                                                            Tinker AFB OK 73145-0750

TOTAL: 12


                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 11, 2023                                            Signature:       /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 9, 2023 at the address(es) listed
below:
Name                                Email Address
Alexander E Hilton, III
                                    on behalf of Debtor Ronald Morain AEHiltonlaw@gmail.com AHiltonlaw@ou.edu

Charles E. Wetsel
                                    on behalf of Creditor Teague & Wetsel PLLC cwetsel@teaguewetsel.com, amaluy@teaguewetsel.com

Cody D Kerns
                                    on behalf of Creditor Teague & Wetsel PLLC ckerns@teaguewetsel.com

Kevin M. Coffey
                                    kevin@harrisandcoffey.com kelly@harrisandcoffey.com;kcoffey@ecf.axosfs.com;kevinmcoffey60@gmail.com

United States Trustee
                                    Ustpregion20.oc.ecf@usdoj.gov


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Dated: August 9, 2023
The following is ORDERED:




                       UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF OKLAHOMA

In re:                                           )
                                                 )
RONALD MORAIN,                                   )    Case No. 23-11267-SAH
                                                 )    Chapter 7
                              Debtor.            )

         ORDER STRIKING TEAGUE & WETSEL, PLLC’S AMENDED MOTION
         TO DETERMINE DISCHARGEABILITY AND FOR ORDER DIRECTING
          DEBTOR-IN-POSSESSION TO ABANDON PROPERTY AND LIFTING
              THE AUTOMATIC STAY, OR IN THE ALTERNATIVE TO
                  PROVIDE ADEQUATE PROTECTION [DOC. 13]

         Before the Court is the Teague & Wetsel, PLLC’s Amended Motion to Determine

Dischargeability and for Order Directing Debtor-in-possession to Abandon Property and Lifting

the Automatic Stay, or in the Alternative to Provide Adequate Protection [Doc. 13] (the

“Motion”)1 filed on August 9, 2023, by Teague & Wetsel, PLLC. The Motion does not comply

with applicable Local Rules in that it does not contain “and Notice of Opportunity for Hearing”




         1
        The Motion’s title requests an order directing the debtor-in-possession to abandon
property, however, there is no debtor-in-possession in this case as it was filed under chapter 7.
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in the title of the Motion.2 Furthermore, the Motion impermissibly contains multiple requests for

relief,3 including what appears to be a request to determine dischargeability of a debt which can

only be brought by an adversary proceeding per Federal Rule of Bankruptcy Procedure 7001(6).

Therefore, the Motion is hereby STRICKEN.4

       IT IS SO ORDERED.
                                              # # #




       2
           See Local Rule 9013-1.G.
       3
           See Local Rule 9013-1.B. and Electronic Case Filing Guidelines ¶ 11.
       4
         “Documents filed with the Court which do not comply with the Local Rules and the
ECF Guidelines may be stricken without notice and without time to correct the deficiency(ies)
at the Court’s discretion.” See Local Rule 9010-1.I.

                                                 2
